
Morpity, J.
delivered the opinion of the court.
This suit had commenced by attachment against Charles F. Cocke. A few days after, plaintiff presented a petition, stating that, through error, defendant’s name had been set forth as Charles F. Cocke, when, in fact, his true name was Chastine Cocke, and asking that the original petition should be amended accordingly. A new affidavit and bond were annexed to this petition, and a writ of attachment was prayed for against Chastine Cocke; leave of the court was obtained to file the amended petition, but no order for the issuing of the second attachment was given either by the judge or by the clerk of the court below. A motion was made to set aside the proceedings, on the ground that they were not authorized by any order of the court, and were therefore illegal and void. This motion was overruled below, but it has been renewed and insisted on here by the counsel appointed to represent the absent debtor. It is contended, on the part of plaintiff and appellee, that no such order was necessary; that the 18th section of the act approved on the 25th of March, 1828, which gives to the clerk the right of issuing orders of arrest, attachment, &amp;c., authorizes him to issue the writs himself, without the vain and useless ceremony of making an order, directed to, and to be executed, by himself. We cannot give our assent to this proposition. It would be doing away entirely with the necessity of an order in every case, which [485] is contrary to the very terms of the statute,' which provides, “ that the orders of arrest, attachment, provisional seizure and injunction, &amp;c., may be issued either by the judge before whom the cause is brought, or by the clerk of his court, provided that the parties applying for the same comply with the formalities prescribed by law to obtain any of the above-mentioned orders.” *662Before this enactment, none of these extraordinary remedies could be obtained without an order of the judge. The only change made by this law is to give to the clerks of courts concurrently with the judge, the power of making such orders; but, from the very wording of this amendment, it is apparent that the judicial order theretofore required for the issuing of these several writs was not intended to be dispensed with. The order authorizing the issuing of ‘ a wi'it, and the writ itself, are distinct and different things. The one is a judicial act, determining the amount of the bond to be given, accepting the surety offered, &amp;c.; the other is the performance of a ministerial duty. An order, when issued by the clerk under this express law, is to be considered an order of the court as much as if given by the judge himself. It is, therefore,’ an order of court, which the clerk executes, and not his own, when he issues the writ which it authorizes. The plaintiff seems to have been fully aware that an order was necessary, for the record shows that he took care to have one made out by the clerk when he filed his original petition. The second attachment sued out against Ohastine Cooke being a distinct proceeding from the first, should have been attended by the same formality. It must stand by itself, and can derive no validity or support from the order authorizing the previous attachment against Charles F. Cocke. Plaintiff having treated the first attachment as a nullity, and prayed for a new writ, it could not lawfully issue without an order of the court. In Lacy v. Kenley, 3 La. Rep. 18, we have said, “ whatever may be the general doctrine of nullity, relating to contracts or judicial proceedings, in ordinary cases, it is believed that in the ex-[486] traordinary remedy by attachment all the forms prescribed by law for this process must be strictly pursued, on pain of nullity, as a consequence of their neglect.”
It is therefore ordered, that the judgment of the commercial court be avoided and reversed, and it is further ordered that there be judgment for the defendant as in a case of nonsuit, with costs in both courts.
